142 F.3d 447
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Jose SEBASTIAN-BELLO, Defendant-Appellant.
    No. 97-10288.D.C. No. CR-96-00349.
    United States Court of Appeals,Ninth Circuit.
    .Submitted April 20, 1998.**Decided April 24, 1998.
    
      Appeal from the United States District Court for the Northern District of California, Maxine M. Chesney, District Judge, Presiding.
      Before BRUNETTI, RYMER, and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Jose Sebastian-Bello appeals from his sentence following his guilty plea conviction for illegal re-entry after deportation, in violation of 8 U.S.C. § 1326(b)(2).  Counsel has filed a motion stating that there are no arguable issues for review and seeking to withdraw as counsel of record pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).  Sebastian-Bello has not filed a pro se supplemental brief.
    
    
      3
      We have reviewed the record and find that there are no arguable issues for review.  Accordingly, counsel's motion to withdraw is granted and the district court's judgment is
    
    
      4
      AFFIRMED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    